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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 TIGER LILY, LLC;
 HUNTER OAKS APARTMENTS UTAH, LLC;
 NORTH 22ND FLAT, LLC;
 CHERRY HILL GARDENS, LLC;
 CHURCHILL TOWNHOMES, LLC;
 BRITTANY RAILEY; and
 APPLEWOOD PROPERTY MANAGEMENT, LLC,

        Plaintiffs,

 v.                                                           No: 2:20-cv-02692-MSN-atc

 UNITED STATES DEPARTMENT OF HOUSING AND
 URBAN DEVELOPMENT and BENJAMIN S. CARSON, M.D.,
 in his official capacity as United States Secretary of Housing
 and Urban Development;
 UNITED STATES DEPARTMENT OF JUSTICE and WILLIAM
 P. BARR, in his official capacity as United States Attorney General;
 UNITED STATES CENTER FOR DISEASE CONTROL AND
 PREVENTION and NINA B. WITKOVSKY, in her official capacity
 as Acting Chief of Staff of the Center for Disease Control and Prevention;
 UNITED STATES DEPARTMENT OF HEALTH & HUMAN SERVICES
 and ALEX AZAR, in his official capacity as United States Secretary of
 Health and Human Services;
 VICE ADMIRAL JEROME M. ADAMS, M.D., in his official capacity as
 United States Surgeon General; and
 D. MICHAEL DUNAVANT, in his official capacity as United States Attorney General for the
 Western District of Tennessee,

        Defendants.


                                       JUDGMENT



 JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint (ECF

 No. 1), filed September 16, 2020,
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 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the

 Order Granting Plaintiffs’ Motion for Judgment on the Administrative Record and Order Denying

 Defendants’ Motion for Judgment on the Pleadings (ECF No. 103), entered March 15, 2021,

 Plaintiff’s Motion for Judgment on the Administrative Record is GRANTED. The Court hereby

 DECLARES that the nationwide eviction moratorium promulgated by the CDC in orders dated

 September 4, 2020 and January 29, 2021, and referred to by this Court as the “Halt Order,” exceeds

 the statutory authority of the Public Health Act, 42 U.S.C. § 264; is ultra vires; and is

 unenforceable in the Western District of Tennessee.


 APPROVED:

 s/ Mark S. Norris
 MARK S. NORRIS
 UNITED STATES DISTRICT JUDGE

 March 16, 2021
 Date




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